EXHIBIT 16
                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS



        STATE OF CALIFORNIA, et al.

                       Plaintiffs,

                           v.                                                25-12019
                                                          Civil Action No.: ___________

      ROBERT F. KENNEDY, JR., et al.,

                      Defendants.




                           DECLARATION OF ELIZABETH CAULUM

    I, Elizabeth Caulum, declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the

foregoing is true and correct:

        1.      I am the Chief Executive Officer at MNsure, Minnesota’s health insurance

marketplace established pursuant to the Patient Protection and Affordable Care Act (“ACA”), 42

U.S.C. § 18051 et seq. and Minnesota law, Minnesota Statutes, chapter 62V. I have been employed

as CEO since May 3, 2023. Before that I served as both MNsure’s interim CEO and senior director

for public affairs.

        2.      MNsure is Minnesota’s health insurance marketplace where individuals and
families can shop, compare, and choose health insurance coverage that meets their needs.

Individuals can apply for financial help to lower the cost of their monthly insurance premiums and

out-of-pocket costs through MNsure. MNsure offers low-cost and free health insurance options

provided through government-sponsored programs, Medical Assistance and MinnesotaCare,

which are managed through the Minnesota Department of Human Services, to individuals who

qualify.
         3.    I am familiar with the information in the statements set forth below through

personal knowledge and from documents and information that have been provided to and reviewed

by me.

         4.    I submit this Declaration in support of the States’ Motion for a Preliminary

Injunction.

                                      MNsure: Introduction

         5.    When MNsure was established in 2013, Minnesota’s uninsured rate was

approximately 8.6%. As of the most recent data available, Minnesota’s uninsured rate has dropped

in 2023 to 3.8%.

         6.    MNsure has established a competitive marketplace, a robust risk pool, and currently

includes five health insurance plan issuers and three dental plan issuers.

         7.    MNsure is funded through a statutory premium withhold (PWH) that is 3.5% of the

premium. See Minn. Stat. § 62V.05, subd. 2. For Fiscal Year 2024, MNsure’s entire PWH was

approximately $25,418,000.

         8.    The flexibility that the U.S. Department of Health and Human Services (HHS) and

the Centers from Medicare and Medicaid Services (CMS) have afforded state-based exchanges

(SBEs) in operating our unique marketplaces has allowed us to implement innovative policies

which facilitate access to high-quality health and dental insurance plans at an affordable cost.

         9.     MNsure has typically maintained Open Enrollment Periods (OEP) to maximize

consumer access, running from November 1 through approximately January 15, which is longer

than the Federally-Facilitated Exchange (FFE). In years when the Federally Facilitated Exchange

(FFE) has shortened its OEP, MNsure maintained a longer opportunity for individuals and families

to enroll in coverage recognizing Minnesota’s unique marketplace, consumer behavior, and needs.

         10.   Our special enrollment period (SEP) policies have also been uniquely designed to

meet Minnesota’s needs, ensuring continuous coverage and minimizing enrollment barriers.




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                                Lack of MNsure enrollment fraud

       11.     MNsure has had very few instances of fraudulent enrollment. A review of consumer

complaints and enrollment partner activity in recent years revealed that improper enrollments

through MNsure are exceedingly rare, thanks to the tailored oversight measures we have

implemented, such as automated verifications with federal HUB service, and reviews of

enrollment activity by health insurance carriers.

       12.     For the few instances reported, MNsure has taken swift and decisive corrective

actions, including conducting investigations and, when necessary, terminating enrollments.

       13.     We believe instances of fraud are low because of MNsure’s tailored program

integrity measures, including oversight of enrollment partners and enforcement mechanisms.

                                 MNsure lost enrollment revenue

       14.     We estimate that the Final Rule will cause total enrollment in MNsure to decrease

and will cause the risk pool to significantly worsen, thereby causing premiums to increase,

especially for middle income enrollees who receive small or no premium subsidies.

       15.     One direct consequence of this anticipated decrease in enrollment is a loss of

revenue. To fund operations, MNsure collects a user fee of 3.5% percent of the total monthly

premiums collected by an issuer for each plan purchased through our individual exchange,

pursuant to Minnesota Statutes, section 62V.05, subdivision 2.

       16.     If our estimates are accurate, MNsure anticipates our enrollments and revenue

could decrease significantly at the same time we would be required to spend significant resources

on implementing provisions within the rule. The loss in revenue and increased expenses would

result in our inability to maintain adequate customer service levels.

                                    MNsure compliance costs

       17.     We estimate that the numerous changes in the Final Rule will require us to spend

significant financial resources and staff time updating our information technology (IT) systems.

Additionally, the rule will require a substantial amount of staff time to implement its requirements,

impose significant operational challenges on our SBE, and require significant new investment in

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outreach and communication campaigns to inform consumers about changes imposed by the final

rule.

        18.    Some of the technical changes to our IT systems cannot be completed in time for

the 2026 plan year. Specifically, the new income verification requirements—such as requiring

documentation when tax data shows income under 100 percent of the FPL and requiring

documentation when no tax data is available through the federal data services hub—are impossible

to implement within our existing system infrastructure.

        19.    Implementing these rules would necessitate new system programming and

additional manual processes, which compromises the efficiency of our automated systems. This,

in turn, would lead to higher operational costs, greater challenges for consumers, and added strain

on critical resources. Specifically, it could impact the accuracy and timeliness of consumer notices,

increase the volume and complexity of mailings, require expanded enrollee outreach efforts to

address potential confusion, and place additional demands on service center operations, including

longer wait times and increased staffing needs to handle inquiries and support requests.

        20.    Moreover, MNsure experiences a high amount of traffic during the OEP. As a

result, MNsure requires internal teams and external partners to minimize technical changes during

this period of time to prevent any unintended disruptions to consumers’ ability to enroll by the

deadline.

                                   Risk pool impacts to MNsure

        21.    MNsure has consistently cultivated a stable and healthier risk pool compared to the

FFE, as reflected by CMS’s annual risk adjustment data, even when accounting for market-specific

differences.

        22.    Historically, MNsure sees a greater number of younger (18–44-year-olds) enrollees

sign up for coverage after December 15 (i.e., 54%). Therefore, the Final Rule could increase costs

to Minnesota by removing a pool of relatively young and healthy individuals from the pool of

insureds participating in state-based exchanges.



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   I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Executed this 15th day of July 2025, in Saint Paul, Minnesota.



                                                    _______________________________

                                                    Elizabeth Caulum
                                                    Chief Executive Officer
                                                    MNsure




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